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                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:         17-05217 JSB                                                            Trustee: (330640)           THOMAS E. SPRINGER
Case Name:           SANTAGATA, JOHN J.                                                      Filed (f) or Converted (c): 02/23/17 (f)
                     SANTAGATA, SHEILA J.                                                    §341(a) Meeting Date:       03/27/17
Period Ending:       12/31/18                                                                Claims Bar Date:            10/16/17

                                1                                         2                         3                          4                  5                    6

                       Asset Description                               Petition/            Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled       (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                        Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                                Remaining Assets

 1       423 Horizon Dr., Saint Charles, IL 60175-0000                 325,000.00                           0.00                                      0.00                    FA
           Kane County

 2       2014 Chrysler Town & Country                                    14,000.00                          0.00                                      0.00                    FA
           Value changed from $14,500 to $14,000 on amended
         schedules
         Costs of liquidation exceed non-exempt portion of asset

 3       2005 Infiniti FX 35                                              3,000.00                          0.00                                      0.00                    FA
           Value changed from $4,000 to $3,000 on amended
         schedules
         Costs of liquidation exceed asset value

 4       2009 Harley Davison, 55000 miles.                                2,000.00                          0.00                                      0.00                    FA
           Value changed from $8,000 to $2,000 on amended
         schedules

 5       Misc. Household Goods and Furniture located at-                  1,000.00                          0.00                                      0.00                    FA

 6       Personal Clothing of debtor                                          500.00                        0.00                                      0.00                    FA
          This asset not on Amended Schedules

 7       Clothing                                                             850.00                        0.00                                      0.00                    FA

 8       Checking: BMO Harris Bank                                        1,791.00                          0.00                                      0.00                    FA
           Value changed from $1,800 to $1,791 on amended
         schedules

 9       Savings: BMO Harris Bank                                             300.00                        0.00                                      0.00                    FA
10       Checking: U.S. Bank                                                   50.00                        0.00                                      0.00                    FA

11       Savings: U.S. Bank                                                    50.00                        0.00                                      0.00                    FA

                                                                                                                                             Printed: 01/29/2019 01:02 PM   V.14.50
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                                                                                     Form 1                                                                               Page: 2

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:        17-05217 JSB                                                                Trustee: (330640)           THOMAS E. SPRINGER
Case Name:          SANTAGATA, JOHN J.                                                          Filed (f) or Converted (c): 02/23/17 (f)
                    SANTAGATA, SHEILA J.                                                        §341(a) Meeting Date:       03/27/17
Period Ending:      12/31/18                                                                    Claims Bar Date:            10/16/17

                               1                                             2                         3                           4                 5                    6

                       Asset Description                                 Petition/             Estimated Net Value             Property         Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled        (Value Determined By Trustee,       Abandoned         Received by       Administered (FA)/
                                                                          Values             Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate        Gross Value of
Ref. #                                                                                           and Other Costs)                                                 Remaining Assets

12       2016 1040 Return: Federal (u)                                       7,594.00                       7,594.00                                 7,500.00                    FA

13       2016 1040-1L: State (u)                                                 643.00                      643.00                                      500.00                  FA

13       Assets         Totals (Excluding unknown values)                $356,778.00                       $8,237.00                                $8,000.00                  $0.00


     Major Activities Affecting Case Closing:
             Trustee to review claims and file any objections thereto if necessary and then proceed with preparation of the Final Report

     Initial Projected Date Of Final Report (TFR): April 15, 2018                           Current Projected Date Of Final Report (TFR): March 15, 2019




                                                                                                                                                Printed: 01/29/2019 01:02 PM   V.14.50
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                                                                              Form 2                                                                                      Page: 1
                                                         Cash Receipts And Disbursements Record
Case Number:         17-05217 JSB                                                                 Trustee:          THOMAS E. SPRINGER (330640)
Case Name:           SANTAGATA, JOHN J.                                                           Bank Name:        Rabobank, N.A.
                     SANTAGATA, SHEILA J.                                                         Account:          ******5466 - Checking Account
Taxpayer ID #:       **-***6255                                                                   Blanket Bond:     $5,000,000.00 (per case limit)
Period Ending:       12/31/18                                                                     Separate Bond:    N/A

   1           2                           3                                   4                                          5                     6                     7
 Trans.     {Ref #} /                                                                                                  Receipts          Disbursements           Checking
  Date      Check #            Paid To / Received From             Description of Transaction            T-Code           $                    $              Account Balance
10/16/17                  John Santagata                   Turnover/compromise and settlement (hearing                        8,000.00                                    8,000.00
                                                           to approve same scheduled for on 3/23/18)
              {12}                                                                            7,500.00   1224-000                                                         8,000.00
              {13}                                                                             500.00    1224-000                                                         8,000.00
10/31/17                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                     10.00               7,990.00
11/30/17                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                     11.49               7,978.51
12/29/17                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                     11.09               7,967.42
01/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                     12.60               7,954.82
02/13/18      101         INTERNATIONAL SURETIES, LTD.     BOND PREMIUM PAYMENT ON LEDGER                2300-000                                      2.21               7,952.61
                                                           BALANCE AS OF 02/13/2018 FOR CASE
                                                           #17-05217, yearly bond premium
02/28/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                     10.67               7,941.94
03/30/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                     11.42               7,930.52
04/30/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                     11.02               7,919.50
05/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                     12.53               7,906.97
06/29/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                     10.99               7,895.98
07/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                     12.11               7,883.87
08/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                     11.71               7,872.16
09/28/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                      6.03               7,866.13
10/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                      7.11               7,859.02




                                                                                                    Subtotals :           $8,000.00                 $140.98
  {} Asset reference(s)                                                                                                                    Printed: 01/29/2019 01:02 PM     V.14.50
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                                                                        Form 2                                                                                      Page: 2
                                                   Cash Receipts And Disbursements Record
Case Number:       17-05217 JSB                                                              Trustee:         THOMAS E. SPRINGER (330640)
Case Name:         SANTAGATA, JOHN J.                                                        Bank Name:       Rabobank, N.A.
                   SANTAGATA, SHEILA J.                                                      Account:         ******5466 - Checking Account
Taxpayer ID #:     **-***6255                                                                Blanket Bond:    $5,000,000.00 (per case limit)
Period Ending:     12/31/18                                                                  Separate Bond:   N/A

  1           2                    3                                     4                                          5                     6                     7
Trans.     {Ref #} /                                                                                             Receipts          Disbursements           Checking
 Date      Check #       Paid To / Received From              Description of Transaction           T-Code           $                    $              Account Balance
                                                                     ACCOUNT TOTALS                                     8,000.00               140.98           $7,859.02
                                                                         Less: Bank Transfers                               0.00                 0.00
                                                                     Subtotal                                           8,000.00               140.98
                                                                         Less: Payments to Debtors                                               0.00
                                                                     NET Receipts / Disbursements                   $8,000.00                 $140.98


                          Net Receipts :        8,000.00
                                           ————————                                                                  Net                Net                   Account
                            Net Estate :       $8,000.00             TOTAL - ALL ACCOUNTS                          Receipts        Disbursements              Balances
                                                                     Checking # ******5466                              8,000.00               140.98               7,859.02

                                                                                                                    $8,000.00                 $140.98           $7,859.02




 {} Asset reference(s)                                                                                                               Printed: 01/29/2019 01:02 PM     V.14.50
